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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    DAVID SAMBRANO ET AL.,

         Plaintiffs,

    v.                                                   No. 4:21-cv-1074-P

    UNITED AIRLINES INC.,

         Defendant.

         ORDER REGARDING CLASS CERTIFICATION AND
                       DISCOVERY
       The Court, having reviewed submissions by the Parties and
    considered the Parties’ proposals at the most recent status conference in
    this case held March 23, 2023, establishes the following schedule for a
    phase of class discovery and certification in this case:

         1. Class certification discovery shall be completed on or before
            August 24, 2023.
         2. Plaintiffs’ initial designation of class discovery experts shall be
            filed on or before April 10, 2023.
         3. Defendant’s responsive designation of class certification experts
            shall be filed by April 24, 2023.
         4. The Parties shall be limited to 14 depositions per side, exclusive
            of any depositions of the Parties’ designated experts.
         5. Each deposition shall be limited to 7 hours duration on the record.
         6. Plaintiffs’ opening brief in support of class certification shall be
            filed on or before September 23, 2023.
         7. Defendant’s brief in opposition to class discovery shall be filed on
            or before October 23, 2023.
         8. If necessary, Plaintiffs’ reply brief shall be filed on or before
            November 6, 2023.

       The Court will set a class certification hearing, if necessary, after
    reviewing the Parties’ briefs and pleadings.
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       The Court will request that the Parties submit to an additional round
    of mediation to be completed forty-five (45) days after the Court’s ruling
    on class certification.

       The Court will also request that, if appropriate, the Parties submit
    another joint proposed scheduling order after the Court’s ruling on class
    certification regarding discovery on the merits of the case, amending
    pleadings, amending any class orders, designating experts, and setting
    a date for trial.

       SO ORDERED on this 27th day of March 2023.




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